Case: 1:02-cr-00200 Document #: 1025 Filed: 01/27/06 Page 1 of 6 PageID #:3502
Case: 1:02-cr-00200 Document #: 1025 Filed: 01/27/06 Page 2 of 6 PageID #:3503
Case: 1:02-cr-00200 Document #: 1025 Filed: 01/27/06 Page 3 of 6 PageID #:3504
Case: 1:02-cr-00200 Document #: 1025 Filed: 01/27/06 Page 4 of 6 PageID #:3505
Case: 1:02-cr-00200 Document #: 1025 Filed: 01/27/06 Page 5 of 6 PageID #:3506
Case: 1:02-cr-00200 Document #: 1025 Filed: 01/27/06 Page 6 of 6 PageID #:3507
